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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
Vv.
ROBERT SANFORD,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-52

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol

Grounds or Buildings)

 

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, ROBERT SANFORD,

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder, and the civil disorder obstructed, delayed, and

adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, ROBERT SANFORD,
using a deadly or dangerous weapon, that is, a fire extinguisher, did forcibly assault, resist, oppose,
impede, intimidate, and interfere with, an officer and employee of the United States, and of any
branch of the United States Government (including any member of the uniformed services), while
such officer or employee was engaged in or on account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, ROBERT SANFORD, did
unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so, and, during and in relation to the offense, did use and carry a deadly and dangerous weapon,
that is, a fire extinguisher.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT FOUR

On or about January 6, 2021, within thie District of Columbia, ROBERT SANFORD, did
knowingly, and with intent to impede and disript the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-
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elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, ROBERT SANFORD,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

AH Wohl Vc bre
Attorney of the United States in
and for the District of Columbia.
 

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